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 1
 2                          IN THE UNITED STATES DISTRICT COURT
 3                                FOR THE DISTRICT OF ARIZONA
 4
     United States of America,                                   No. CR-18-422-PHX-SMB
 5
                            Plaintiff,
 6                                                                 DECLARATION OF
                 v.                                                MATTHEW FROST
 7

 8   Michael Lacey, et aI.,
 9                          Defendants.
10   I, Matthew Frost, declare:

11          1.        On October 29, 2019, I understand that attorneys for the United States sent
12   a letter to Defendants that communicated to them my offer to fly to Phoenix, Arizona
13   from Pocatello, Idaho to meet Tami Loehrs at her office, in order to demonstrate how to
14   access the information contained on the hard drives produced by the government. A true
15   and correct copy of that letter is attached as Exhibit A.
16          2.        On November 5, 2019, Defendants responded to the government's letter. A
17   true and correct copy of the letter is attached as Exhibit B.
18          3.        On November        8, 2019, I understand    attorneys   for the United States
19   responded to Defendants' November 5, 2019 letter. A true and correct copy of the letter
20   is attached as Exhibit C.

21          4.        The government's November 8, 2019 letter explained that I used a Linux-
22   based version of FTK Imager-Command-Line           to create a text file for each .eOI forensic
23   image. The text file documented the following:        (1) the tool used to make the forensic
24   image; (2) when the data was acquired; and (3) the hash verification.           The letter also
25   explained that I would be able to walk Ms. Loehrs through the requisite steps to view the
26   text files, which would enable her to confirm the information Defendants received from
27   the government were valid forensic images. Finally, the letter explained that in order for
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 1   Ms. Loehrs to view the data that was contained on the hard drives, she would need to
 2   have expertise in Z File Systems or ZFS.

 3          5.     On November 19,2019, after flying to Phoenix, Arizona the night before, I
 4   went to Loehrs Forensics to meet with Ms. Loehrs.         Also in attendance were attorneys
 5   Bruce Feder and Dan Quigley, AUSAs Peggy Perimeter and Andrew Stone, and SA IRS-
 6   CI Richard Robinson.
 7          6.     The meeting occurred in Loehrs Forensics' lobby. I sat at a table that had
 8   been set-up with a Hewlett Packard computer, along with 11 hard drives, and a hard drive
 9   dock to attach the drives to the computer.        These hard drives were a subset of those
10   produced by the government to Defendants in this matter.
11          7.     The computer screen and the keyboard were being video-recorded by two
12   digital cameras that had been set-up before I arrived.
13          8.     I understood that the 11 hard drives were selected by Ms. Loehrs, because
14   she had difficulty accessing these hard drives.
15          9.     During the meeting, which lasted approximately 90 minutes, the following
16   three steps in evaluating the 11 hard drives were defined as follows:
17                 •      Step One - Is the drive readable?
18                 •      Step Two - Can the .eO1 files on the drive be pulled into forensic
19                        software?
20                 •      Step Three - How can you access the data that was contained on the
21                        Backpage servers?
22          10.    During the meeting, I attempted to connect all 11 hard drives to the
23   computer.
24          11.    Eight of the hard drives connected to the computer.       This means that the
25   computer recognized the file system on the hard drive and auto-mounted the files. These
26   eight drives were readable (step one).
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 1             12.   Three of the hard drives did not connect. This means that the HP computer
 2   did not recognize the file system on the hard drive and the files were not accessible to the
 3   user. These three drives were not readable.
 4             13.   After reviewing all 11 hard drives, I told Ms. Loehrs I would replace the
 5   three hard drives that were not readable.
 6             14.   During the meeting, I also demonstrated the difference between viewing the
 7   files on the hard drives in Windows as compared with Linux.           When these files are
 8   viewed in Windows, the files do not display correctly. These files need to be viewed in a
 9   Linux-based system.
10             15.   I demonstrated how to view the files in a Linux based system by re-booting
11   the HP computer with a bootable USB thumb drive. The thumb drive contained tools that
12   are free to download online. I then mounted the .eOl image files and the HP computer
13   then displayed the data as it appeared on the original disk from the Backpage computer
14   server.     This demonstration   showed that these .eO1 image files could be pulled into
15   forensic software (step two).
16             16.   After the data displayed in the Linux-based system, 1 showed Ms. Loehrs
17   where to find an indicator that the disk was a part of a Z-Pool.        We discussed that
18   someone with experience and familiarity would need to assemble the Z-Pool before the
19   data on the hard drives could be accessed (step three).    I also mentioned that a Z-Pool
20   does not require the hard drives to be in the exact order in which they were previously
21   arranged to operate.
22             17.   Before I left, Ms. Loehrs was asked if she had any further questions, and
23   she responded that she did not and that my presentation had cleared everything up from
24   her perspective.
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                I declare under penalty    of perjury under the law of the United States of America
     2   that the foregoing   is true and correct to the best of my knowledge   and belief.
     3          Executed this 27th day of November,      2019 at Pocatello,   Idaho.
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                                                     MA'I'THEW FROST
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